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                            Description                           I.D.       Off.        Adm./     Deposition
    No.
                                                                                         Stip.     or Witness
     SM_Stokes 1     No exhibit

     SM_Stokes 2     Email authored by Stokes to Erin Tomasic X          X           X            Stokes

     SM_Stokes 3     No exhibit

     SM_Stokes 4     Email authored by Stokes to Pauletta    X           X           X            Stokes
                     Boyd
      SM_Rask 1      Email exchange between Metger and       X           X           X            Rask
                     Tomasic 8/15/2016
      SM_Rask 2      Email exchange between Mr. Welch and X              X           X            Rask
                     Deb Barnett
      SM_Rask 3      No Exhibit

      SM_Rask 4      Email exchange from Erin Tomasic to     X           X           X            Rask
                     Emily Metzger
      SM_Rask 5      Email exchange between Rask, Flannigan X            X           X            Rask
                     and Tomasic
      SM_Rask 6      Email exchange between Rask, Flannigan, X           X           X            Rask
                     Tomasic and Oakley
      SM_Rask 7      Email exchange from Tomasic to Rask     X           X           X            Rask
                     and Flannigan
      SM_Rask 8      Email exchange from Barnett to Oakley, X            X           X            Rask
                     Tomasic, Rask, Flannigan, Beall, Slinkard,
                     Metzber, MacNeil 8/9/2016
      SM_Tom 1      August 26, 2016 emails                   X           X           X            Tomasic

      SM_Tom 2      September 8, 2016 emails                 X           X           X            Tomasic

      SM_Tom 3      September 8–9, 2016 emails between       X           X           X            Tomasic
                    Flannigan and Beall
      SM_Tom 4      September 8–11, 2016 emails between      X           X           X            Tomasic
                    Tomasic, Beall, Metzger
      SM_Tom 5      September 8, 2016 emails between Zabel, X            X           X            Tomasic
                    Hunt, Beall
      SM_Tom 6      (Withdrawn)

      SM_Tom 7      August 17–18, 2016 emails between Boyd X             X           X            Tomasic
                    and Tomasic
      SM_Tom 8      August 17, 2016 email from Flannigan     X           X           X            Tomasic

      SM_Tom 9      August 19, 2016 emails between Tomasic X             X           X            Tomasic
                    and Shew


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     SM_Tom 10      January 20, 2016 email from Agent Stokes

     SM_Tom 11      March 31, 2016 email from DUSM Cahill x         x    x              Tomasic

     SM_Tom 12      September 6, 2016 email from Herron

     SM_Tom 13      August 5, 2016 emails between Barnett and
                    Tomasic
     SM_Tom 14      August 8, 2016 email from Flannigan

     SM_Tom 15      April 2016 emails between Barnett and                X stipulated
                    Tomasic REDACTED
     SM_Tom 16      August 5, 2016 email from Tomasic                    X stipulated

     SM_Tom 17      August 9, 2016 email from Tomasic                    X stipulated

     SM_Tom 19      August 24, 2016 email from Rask                      X stipulated

     SM_Tom 20      January 17, 2017 email from Tomasic                  X stipulated

     SM_Tom 21      February 2017 emails between Tomasic and             X stipulated
                    Metzger
     SM_Tom 22      August 2016 emails between Seubert and               X stipulated
                    Barnett
      SM Tom 25     E-mail from Welch to Tomasic, 8/7/16 re:             X stipulated
                    CCA surveillance footage
     SM_Tom 46      August 2016 emails between Rask,                     X stipulated
                    Flannigan, Tomasic
      SM_Big 1      Administrative subpoena                     x   x    X stipulated Bigelow

      SM_Big 2      Request for CCA phone calls                 x   x    X stipulated Bigelow

      SM_Big 3      Request for CCA phone calls                 x   x    X stipulated Bigelow

      SM_Big 4      May 2013 Securus email                      x   x    X stipulated Bigelow

      SM_Big 5      February 13, 2015 Stokes email              x   x    X stipulated Bigelow

      SM_Big 6      March 3, 2015 email from Hundley            x   x    X stipulated Bigelow

      SM_Big 7      April 7, 2016 emails between Cook and       x   x    X stipulated Bigelow
                    Bigelow
      SM_Big 8      June 2016 emails between Lajiness and       x   x    X stipulated Bigelow
                    Duncan
      SM_Big 9      June 20, 2016 email re administrative       x   x    X stipulated Bigelow
                    subpoena

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      SM_Big 10     June 2016 emails between Lajiness,          x   x    X stipulated Bigelow
                    Bigelow, Ryan
      SM_Big 11     August 4, 2016 email from Bigelow           x   x    X stipulated Bigelow

      SM_Big 12     October 31, 2016 emails between Bigelow x       x    X stipulated Bigelow
                    and Kenyon
      SM_Big 13     November 17, 2016 emails between            x   x    X stipulated Bigelow
                    Bigelow, Andrew, Kinney
      SM_Big 14     December 19, 2016 email from Bigelow        x   x    X stipulated Bigelow

      SM_Big 15     May 2014 emails between Buell and           x   x    X stipulated Bigelow
                    Rhodes
      SM_Big 16     September 12, 2016 emails between           x   x    X stipulated Bigelow
                    Bigelow and Whitaker
     SM_Thom 1      October 26, 2016 CCA Memo                   x   x    X stipulated Bigelow

      SM_Barn 1     August 13, 2016 email from Barnett                   X stipulated

      SM_Barn 2     August 2016 emails between Barnett, Rask,            X stipulated
                    Welch
      SM_Barn 3     August 17, 2016 Flannigan email                      X stipulated

      SM_Barn 4     August 23, 2016 emails between Tomasic,              X stipulated
                    Barnett, Rask
      SM_Barn 5     May 2014 emails between Buell and                    X stipulated
                    Rhodes
      SM_Barn 6     August 2016 emails between Tomasic,                  X stipulated
                    Barnett, Flannigan
      SM_Barn 7     Agusut 24, 2016 emails between Barnett,              X stipulated
                    Papish, Graham
      SM_Barn 8     April 2016 emails between Barnett and                X stipulated
                    Tomasic
      SM_Barn 9     August 9, 2016 email from Barnett                    X stipulated

     SM_Barn 10     September 8, 2016 emails between Beall,              X stipulated
                    Flannigan
     SM_Barn 11     February 6, 2017 email from Tomasic                  X stipulated

     SM Barn 13     August 15, 2016 email between Flannigan              X stipulated
                    and Beal
     SM Barn 14     August 15, 2016 email from Tomasic to                X stipulated
                    Barnett
     SM Barn 16     September 11, 2016 email from Metzger to             X stipulated
                    Beal
      SM_Beall 1    August 23, 2016 emails between Tomasic,              X stipulated
                    Barnett, Metzger

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      SM_Beall 4    August 15, 2016 email from Flannigan        X stipulated

      SM_Beall 5    September 8, 2016 emails between Beall      X stipulated
                    and Flannigan
      SM_Beall 6    September 8, 2016 emails between Beall,     X stipulated
                    Zabel, Hunt
      SM_Beall 7    September 2016 emails between Flannigan     X stipulated
                    and Beall
      SM_Beall 8    September 2016 emails between Beall,        X stipulated
                    Metzger, Tomasic
      SM_Beall 9    October 8, 2016 email from Catania          X stipulated

      SM_Boyd 1     December 7, 2016 emails from Rask           X stipulated

      SM_Boyd 2     August 19, 2016 email from Oakley           X stipulated

      SM_Boyd 3     August 2016 emails between Boyd and         X stipulated
                    Tomasic
      SM_Boyd 4     August 17, 2016 email from Boyd             X stipulated

      SM_Boyd 5     July 12, 2016 emails between Stokes and     X stipulated
                    Boyd
      SM_Boyd 6     July 12, 2016 email from Stokes             X stipulated

      SM_Cat 1      December 7, 2016 emails from Rask           X stipulated

      SM_Cat 3      October 8, 2016 email from Catania          X stipulated

      SM_Flan 1     August 17, 2016 email from Flannigan        X stipulated

      SM_Flan 2     August 8, 2016 emails between Flannigan     X stipulated
                    and Tomasic
      SM_Flan 4     August 8, 2016 emails between Flannigan     X stipulated
                    and Rask
      SM_Flan 5     August 9, 2016 email from Tomasic           X stipulated

      SM_Flan 6     August 24, 2016 emails between Tomasic      X stipulated
                    and Rask
      SM_Flan 7     January 17, 2017 email from Tomasic         X stipulated

      SM_Flan 8     December 7, 2016 emails from Rask           X stipulated

      SM_Flan 9     September 9, 2016 email from Flannigan      X stipulated

     SM_Flan 10     August 26, 2016 emails between Flannigan    X stipulated
                    and Metzger

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     SM_Flan 11     September 2016 emails between Flannigan     X stipulated
                    and Beall
      SM_Kinn 1     May 2013 emails between Collins and         X stipulated
                    Andrew
      SM_Kinn 2     January 2015 emails between Kinney and      X stipulated
                    Hoffer
      SM_Kinn 3     March 2015 emails between Hoffer, Hall,     X stipulated
                    Kinney
      SM_Kinn 4     March 2015 emails between Kinney and        X stipulated
                    Quick
      SM_Kinn 5     March 2015 emails between Hoffer, Hall,     X stipulated
                    Kinney
      SM_Kinn 6     March 2015 emails between Anderson,         X stipulated
                    Hundley
      SM_Kinn 7     April 9, 2015 emails between Hoffer and     X stipulated
                    Hundley
      SM_Kinn 8     April 2016 emails between Bigelow, Cook,    X stipulated
                    Kinney
      SM_Kinn 9     June 2016 emails between Lajiness and       X stipulated
                    Duncan
     SM_Kinn 10     June 16, 2016 email from Hoffer             X stipulated

     SM_Kinn 11     June 21, 2016 emails between Ryan,          X stipulated
                    Lajiness, Bigelow, Kinney
     SM_Kinn 12     August 4, 2016 email from Bigelow           X stipulated

     SM_Kinn 13     November 17, 2016 emails from Andrew,       X stipulated
                    Bigelow
     SM_Kinn 14     November 22, 2016 email from Bigelow        X stipulated

      SM_Metz 1     December 7, 2016 emails from Rask           X stipulated

      SM_Metz 2     February 21, 2017 emails between Metzger
                    and Tomasic
      SM_Metz 3     August 9, 2016 email from Barnett           X stipulated

      SM_Metz 4     August 16, 2016 emails between Metzger,     X stipulated
                    Tomasic, Barnett - REDACTED
      SM_Metz 5     September 8, 2016 emails between Beall      X stipulated
                    and Flannigan
      SM_Metz 6     September 11, 2016 emails between           X stipulated
                    Metzger, Beall, Tomasic
      SM_Metz 7     August 15, 2016 email from Flannigan        X stipulated

     SM_Welch 1     August 7, 2016 emails between Barnett,      X stipulated
                    Tomasic, Welch

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      SM_Seub 1     March 31, 2016 email from Cahill              X stipulated

      SM_Seub 2     August 8, 2016 emails between Seubert and     X stipulated
                    Dougherty
      SM_Seub 3     September 6, 2016 email from Herron           X stipulated

      SM_Seub 4     August 2016 emails between Barnett and        X stipulated
                    Seubert
      SM_Seub 5     No Exhibit

      SM_Seub 6     August 2016 emails between Flannigan and      X stipulated
                    Seubert
     SM_Steeb 1     August 17, 2016 email from Boyd               X stipulated

     SM_Steeb 2     August 2016 emails between Tomasic and        X stipulated
                    Boyd
     SM_Steeb 3     November 4, 2016 letter from Slinkard         X stipulated

     SM_Zabel 1     September 8, 2016 emails between Zabel,       X stipulated
                    Hunt, Beall
     SM Oakley 1    E-mail from Oakley to Seubert, 11/18/16       X stipulated
                    re: CCA calls
     SM Oakley 2    E-mail from Barnett to Oakley, 8/9/16 re:     X stipulated
                    hearing
     SM Oakley 3    E-mail from Metzger to Tomasic, 8/16/16       X stipulated
                    re: facts
     SM Oakley 4    E-mail from Shew to Tomasic, 8/19/16 re:      X stipulated
                    availability of unrecorded legal calls
     SM Oakley 5    E-mail from Rask to Flannigan, 8/24/16 re:    X stipulated
                    activity in case
     SM Oakley 6    E-mail from Flannigan to Beal, 8/15/16 re:    X stipulated
                    meeting
     SM Oakley 7    E-mail from Oakley to Barnett, 8/19/16 re:    X stipulated
                    CCA calls
     SM Oakley 8    E-mail from Boyd to Steeby, 8/17/16 re:       X stipulated
                    CCA calls
     SM Oakley 9    E-mail from Herron to Tomasic, 9/6/16 re:     X stipulated
                    Ashley Huff transcript




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